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 8

 9                          UNITED STATES DISTRICT COURT
10                        SOUTHERN DISTRICT OF CALIFORNIA
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12
   ENRIQUE VAZQUEZ, SERGIO                        Lead Case No. 16-CV-02749-WQH-BLM
   ALFONSO LOPEZ, and MARIA                       (Consolidated w/Case No. 17-cv-00077-
13 VIVEROS, individually and on behalf             WQH-BLM)
14 of themselves and others similarly
   situated,                                      CLASS ACTION
15
                                                  UNOPPOSED
                   Plaintiffs,
16
                                                  NOTICE OF MOTION AND
17   v.                                           MOTION FOR ORDER GRANTING
18                                                FINAL APPROVAL OF CLASS
   KRAFT HEINZ FOODS COMPANY,                     ACTION SETTLEMENT AND
19 a Pennsylvania Corporation, and                ENTERING JUDGMENT
   DOES 1 through 100, inclusive,
20
                   Defendants.                    DATE:         March 20, 2020
21                                                TIME:         9:00 a.m.
                                                  DEPT:         Courtroom 14B
22                                                JUDGE:        Hon. William Q. Hayes
23
                                                  [No Oral Argument Unless Requested
24                                                By Court]
25
                                                  Filed:        September 8, 2016
26                                                Certified:    October 9, 2018
27

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          Notice of Motion and Motion for Order Granting Final Approval and Entering Judgment
                                 Case No. 16-CV-02749-WQH-BLM
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         Notice of Motion and Motion for Order Granting Final Approval and Entering Judgment
                                Case No. 16-CV-02749-WQH-BLM
 1            NOTICE IS HEREBY GIVEN that on March 20, 2020 at 9:00 a.m., in
 2   Courtroom 14B, 14th Floor of the above-captioned Court located at 221 West
 3   Broadway, San Diego, California 92101, before the Honorable William Q. Hayes
 4   presiding, Plaintiffs Enrique Vazquez, Sergio Alfonso Lopez, Maria Viveros and
 5   Xochitl Lozano (“Plaintiffs”), on behalf of themselves and the Certified Class will,
 6   and hereby do, move this Court for an Order which has the effect of doing the
 7   following:
 8            1.     finally adjudicate the Settlement is fair, adequate and reasonable;
 9            2.     direct distribution of the Settlement benefits by the Settlement
10   Administrator to all Participating Class Members in accordance with the Stipulation
11   of Class Action Settlement;
12            3.     approve and direct the payment of $50,000 to CPT Group, Inc.,
13   (“CPT”) the Settlement Administrator, for its fees and costs in administering the
14   Settlement;
15            4.     approve and direct the payment of $112,500 (75% of $150,000) to the
16   California Labor and Workforce Development Agency (the “LWDA”) as its share of
17   the settlement for civil penalties;
18            5.     approve and direct payment of $1,000,000 (one-third of the GSA) to
19   Class Counsel for their attorneys’ fees and $150,584.72 (originally estimated at
20   $175,000) as reimbursement of their litigation costs.
21            6.     approve and direct the Class Representative Service Payment of
22   $7,500 to be paid to the Plaintiff/Class Representative Enrique Vazquez;
23            7.     approve and direct the Class Representative Service Payment of
24   $7,500 to be paid to the Plaintiff/Class Representative Sergio Alfonso Lopez;
25            8.     approve and direct the Class Representative Service Payment of
26   $7,500 to be paid to the Plaintiff/Class Representative Maria Viveros;
27   ///
28   ///
                                                    1
           Notice of Motion and Motion for Order Granting Final Approval and Entering Judgment
                                  Case No. 16-CV-02749-WQH-BLM
 1            9.     approve and direct the Class Representative Service Payment of
 2   $7,500 to be paid to the Plaintiff/Class Representative Xochitl Lozano;
 3            10.    direct the Clerk of the Court to enter final judgment, and without
 4   affecting the finality of the final judgment, to reserve the Court’s continuing
 5   jurisdiction over the Parties for the purpose of implementing, enforcing, or
 6   administering the Settlement.
 7            This motion is made on the grounds the proposed Settlement, which was
 8   preliminarily approved by this Court on August 2, 2019 [Dkt. 107] is the product
 9   of arms’-length, good-faith negotiations, and is fair and reasonable to the Class
10   who have embraced the Settlement with a return of zero objections and one request
11   for exclusion. The proposed Settlement should now be finally approved, as more
12   fully discussed in the accompanying Memorandum in Support of Final Approval of
13   Class Action Settlement and Entering Final Judgment.
14            This Motion is based upon this Notice of Motion, the attached Memorandum
15   of Points and Authorities in support, the Declarations of Class Counsel Michael D.
16   Singer, Paul K. Haines, and Sahag Majarian II, Declaration of Ani Sarich, on behalf
17   of CPT Group, Inc., the appointed Settlement Administrator, the Declarations of the
18   Plaintiffs/Class Representatives Enrique Vazquez, Sergio Alfonso Lopez, Maria
19   Viveros and Xochitl Lozano, the Motion for Order Granting Preliminary Approval
20   of Class Action Settlement [Dkts. 107, 110], the Stipulation of Class Action
21   Settlement [Dkt. 105-1], and such other records and files in this class action
22   litigation, and such other matters as may be properly presented at or before the
23   hearing.
24   ///
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           Notice of Motion and Motion for Order Granting Final Approval and Entering Judgment
                                  Case No. 16-CV-02749-WQH-BLM
 1          The Parties have met and conferred with Counsel for Defendant regarding
 2   the substance of this motion, and Plaintiffs anticipate no objection to this motion
 3   from Defendants.
 4                                             Respectfully submitted
 5                                             THE HAINES LAW GROUP, APC
 6                                             COHELAN KHOURY & SINGER,
                                               LAW OFFICE OF SAHAG MAJARIAN II
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 8

 9   Date: February 21, 2020                  By: s/ Diana M. Khoury
                                                     Diana M. Khoury
10                                                   Paul K. Haines
                                                     Sahag Majarian II
11                                          Attorneys for Plaintiffs and the Certified Classes
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         Notice of Motion and Motion for Order Granting Final Approval and Entering Judgment
                                Case No. 16-CV-02749-WQH-BLM
